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     David J. McGlothlin, Esq. (SBN: 026059)
 1
     david@westcoastlitigation.com
 2   Hyde & Swigart
     2633 E. Indian School Road, Suite 460
 3
     Phoenix, AZ 85016
 4   Telephone:    (602) 265-3332
     Facsimile:    (602) 230-4482
 5
 6   Attorneys for Plaintiff
     Kascha Neff
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 9
                             UNITED STATES DISTRICT COURT
10
                                 DISTRICT OF ARIZONA
11
12
        Kascha Neff                                         Case No: 2:15-cv-02607-DJH
13
14                             Plaintiff,                   Notice of Settlement
        v.
15
16      National Credit Audit Corporation

17                             Defendant.
18
19
20   Please take Notice that the parties have settled this matter in its entirety. We
21   anticipate filing a dismissal with prejudice with each party to bear their own
22   attorney’s fees and costs within 45 days of this notice.
23
24   Respectfully submitted,
25                                                          Hyde & Swigart
26   Date: April 7, 2016                            By: /s/ David J. McGlothlin
                                                           David J. McGlothlin
27
                                                           Attorneys for Plaintiff
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      ______________________________________________________________________________________________________
     Notice of Settlement                            - !1 of ! 1 -                2:15-cv-02607-DJH
